       Case 4:14-cv-00639-Y Document 1 Filed 08/11/14                  Page 1 of 5 PageID 1



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

INTERNATIONAL FINANCIAL                            §
SERVICES CORPORATION                               §
                                                   §
            Plaintiff                              §
                                                   §
v.                                                 §    Cause No. ________________
                                                   §
FIRST FINANCIAL BANKSHARES,                        §
INC., FIRST STATE BANK, TITAN                      §
BANK, BANK OF AMERICA, PECO                        §
FEDERAL CREDIT UNION, MINERAL                      §
WELLS BANCSHARES, INC., AND                        §
FIRST CONVENIENCE BANK.                            §

            Defendants.

     INTERNATIONAL FINANCIAL SERVICES CORPORATION'S APPLICATION FOR
            WRITS OF EXECUTION (GARNISHMENT) AFTER JUDGMENT

            Plaintiff International Financial Services Corporation (“IFSC”) files this its Application

for Writs of Garnishment (the "Application"), pursuant to Federal Rules of Civil Procedure 64

and 69 against First Financial Bankshares, Inc., First State Bank, Titan Bank, Bank of America,

Peco Federal Credit Union, Mineral Wells Bancshares, Inc., and First Convenience Bank

(collectively, the "Garnishees"), and in support thereof would respectfully show the Court as

follows:

            1.      IFSC ("Garnishor") obtained a judgment (the "Judgment") from and against

Albert Ricon and Heidi Ricon ("Judgment Debtors"), awarding Garnishor the amount of

$194,612.50, plus post-judgment interest (the "Judgment Amount"). A true and correct copy of

the Judgment is attached hereto as Exhibit A and incorporated herein by reference for all

purposes. The Judgment was domesticated in Texas in the United States District Court for the

Northern District of Texas, Fort Worth Division, on August 5, 2014 (the “Domesticated
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5400867.1
      Case 4:14-cv-00639-Y Document 1 Filed 08/11/14                Page 2 of 5 PageID 2



Judgment”). A true and correct copy of Domesticated Judgment is attached hereto as Exhibit B

and incorporated herein by reference for all purposes.

            2.   The Judgment is final, valid, subsisting and remains unsatisfied. The Judgment

Debtors are liable for the entire Judgment Amount, and no payments have been made to date by

the Judgment Debtors to satisfy any portion of the Judgment Amount.

            3.   Within Garnishor's knowledge, the Judgment Debtors do not possess property

within Texas subject to execution sufficient to satisfy the Judgment.

            4.   Garnishee First Financial Bankshares, Inc. is a Texas-based financial institution

headquartered in Abilene, Texas. Garnishee First Financial Bankshares, Inc. is subject to the

jurisdiction of this Court. Service of the Writ of Garnishment may be made upon Garnishee First

Financial Bankshares, Inc. by serving its registered agent, F. Scott Dueser at 400 Pine Street,

Abilene, Texas 79601.

            5.   Garnishee First State Bank of Mineral Wells is a Texas-based financial institution

headquartered in Mineral Wells, Texas. Garnishee First State Bank of Mineral Wells is subject

to the jurisdiction of this Court. Service of the Writ of Garnishment may be made upon

Garnishee First State Bank of Mineral Wells by serving its registered agent, Riley C. Peveto at

101 SE 1st Avenue, Mineral Wells, Texas 76067.

            6.   Garnishee Titan Bank is an assumed name for First National Bank – Graford.

First National Bank - Graford is a National Charter Bank headquartered in Mineral Wells.

Garnishee Titan Bank is subject to the jurisdiction of this Court.        Service of the Writ of

Garnishment may be made upon Garnishee Titan Bank by serving its President Mick Hogan at

1701 E. Hubbard St., Mineral Wells, Texas 76067.




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5400867.1
      Case 4:14-cv-00639-Y Document 1 Filed 08/11/14               Page 3 of 5 PageID 3



            7.    Garnishee Bank of America is a North Carolina-based financial institution

registered to do business in Texas. Garnishee is therefore subject to the jurisdiction of this

Court. Service of the Writ of Garnishment may be made upon the Garnishee Bank of America

by serving its registered agent, C T Corporate System, 1999 Bryan Street, Suite 900, Dallas,

Texas 75201-3136.

            8.    Garnishee Peco Federal Credit Union is a Texas-based financial institution

headquartered in Mineral Wells, Texas. Garnishee Peco Federal Credit Union is subject to the

jurisdiction of this Court. Service of the Writ of Garnishment may be made upon Garnishee

Peco Federal Credit Union by serving its President, Jerry D. Howard at 6201 Highway 180 East,

Mineral Wells, Texas 76067.

            9.    Garnishee Mineral Wells Bancshares Inc. is a Texas-based financial institution

headquartered in Mineral Wells, Texas. Garnishee Mineral Wells Bancshares Inc. is subject to

the jurisdiction of this Court. Service of the Writ of Garnishment may be made upon Garnishee

Mineral Wells Bancshares Inc. by serving its registered agent, Riley C. Peveto at 101 SE 1st

Avenue, Mineral Wells, Texas 76067.

            10.   Garnishee First Convenience Bank is an assumed name for First National Bank of

Texas.       First National Bank of Texas a Texas-based financial institution headquartered in

Killeen, Texas. Garnishee First Convenience Bank is subject to the jurisdiction of this Court.

Service of the Writ of Garnishment may be made upon Garnishee First Convenience Bank by

serving its President, Robert W. Hoxworth at 507 North Gray Street, Killeen, Texas 76541.

            11.   Garnishor believes that Garnishees are indebted to the Judgment Debtors or have

in their possession effects belonging to the Judgment Debtors.        Garnishor is aware, upon

information and belief, of account(s) the Judgment Debtors have with Garnishees. Garnishor has


                                                 3

5400867.1
      Case 4:14-cv-00639-Y Document 1 Filed 08/11/14               Page 4 of 5 PageID 4



reason to believe, upon information and belief, that the Judgment Debtors still maintain such

account(s) with Garnishees. Specifically, Judgment Debtors may maintain account(s) in the

name of Albert Rincon and/or Heidi Rincon.

            12.   Garnishor is not seeking to injure or harass Garnishees or the Judgment Debtors

by suing out writs of garnishment. Garnishor is entitled to any funds or assets Garnishees are

holding for or are indebted to Judgment Debtors up to the amounts stated in the Judgment.

            13.   This Application is supported by the Affidavit of Denise Mitchem, attached

hereto and incorporated herein by reference as Exhibit C.

            14.   The Writs of Garnishment After Judgment to the Garnishees are attached hereto

as Exhibit D.

            WHEREFORE, for the purposes of enforcing the Judgment, IFSC respectfully requests

that a Writ of Garnishment issue against Garnishees and that Garnishor have judgment against

Garnishees to satisfy the Judgment Amount as provided by law, together with all costs of court,

and such other relief to which Garnishor may be justly entitled.




                                                 4

5400867.1
      Case 4:14-cv-00639-Y Document 1 Filed 08/11/14                Page 5 of 5 PageID 5




Dated: August 11, 2014                                COX SMITH MATTHEWS
                                                      INCORPORATED

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                                                      By: /s/ Meghan E.B. DeBard________

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                                                      and

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                                                      ATTORNEYS FOR JUDGMENT
                                                      CREDITOR, INTERNATIONAL
                                                      FINANCIAL SERVICES
                                                      CORPORATION




            Exhibit A - Judgment
            Exhibit B - Domesticated Judgment
            Exhibit C - Affidavit of Denise Mitchem
            Exhibit D - Writs of Garnishment




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5400867.1
